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8                            UNITED STATES DISTRICT COURT
9                           SOUTHERN DISTRICT OF CALIFORNIA
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11     TALAVERA HAIR PRODUCTS, INC., a                   Case No.: 18-CV-823 JLS (JLB)
       Nevada corporation,
12
                                        Plaintiff,       ORDER GRANTING IN PART AND
13                                                       DENYING IN PART PLAINTIFF’S
       v.                                                MOTION FOR PARTIAL
14
                                                         SUMMARY JUDGMENT
15     TAIZHOU YUNSUNG ELECTRICAL
       APPLIANCE CO., LTD., a business                   (ECF No. 107)
16
       entity; and THE INDIVIDUALS,
17     PARTNERSHIPS, AND
18     UNINCORPORATED ASSOCIATIONS
       IDENTIFIED ON EXHIBIT “1,”
19
20                                   Defendants.

21          Presently before the Court is Plaintiff Talavera Hair Products, Inc.’s (“Plaintiff”)
22    Motion for Partial Summary Judgment against the only remaining non-defaulting
23    defendant, Defendant Taizhou Yunsung Electrical Appliance Co., Ltd. (“Defendant”)
24    (“Mot.,” ECF No. 107). The Court took the matter under submission without oral argument
25    pursuant to Civil Local Rule 7.1(d)(1). See ECF No. 108. Having carefully considered
26    Plaintiff’s arguments, the evidence, and the relevant law, the Court GRANTS IN PART
27    and DENIES IN PART the Motion, as set forth below.
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1                                          BACKGROUND
2           “Plaintiff sells a unique and revolutionary patented product under the federally
3     registered trademark Split-Ender® that quickly and easily trims split ends from hair.” See
4     ECF No. 1 (“Compl.”) ¶ 13. “Plaintiff owns copyrights, trademark rights, and patent rights
5     regarding its Split-Ender® product.” Id. ¶ 16. On April 30, 2018, Plaintiff filed the instant
6     litigation against Defendant and several other entities for copyright infringement pursuant
7     to 17 U.S.C. §§ 101 et seq.; unfair competition pursuant to the Lanham Act, 15 U.S.C.
8     § 1125(a); trademark infringement pursuant to 15 U.S.C. § 1114; and infringement of
9     Plaintiff’s U.S. Patents Nos. 6,588,108, 7,040,021, and 9,587,811 pursuant to 35 U.S.C.
10    § 271(a). See generally Compl. On April 19, 2019, Defendant filed an answer to the
11    Complaint. See generally ECF No. 66. The remaining defendants defaulted. See generally
12    Docket.
13          On May 3, 2018, Plaintiff filed an ex parte application for a temporary restraining
14    order (“TRO”), see ECF No. 9, which the Court granted on May 10, 2018, see ECF No.
15    10. On March 16, 2020, Plaintiff moved for default and/or summary judgment against the
16    defaulted defendants, see ECF No. 98, which motion subsequently was refiled and is
17    currently pending, see ECF No. 111 (“Mot. for Default J.”). On July 17, 2020, Plaintiff
18    filed the present Motion. See generally ECF No. 107. Defendant did not file an opposition.
19                                      LEGAL STANDARD
20          Under Federal Rule of Civil Procedure 56(a), a party may move for summary
21    judgment as to a claim or defense or part of a claim or defense. Summary judgment is
22    appropriate where the Court is satisfied that there is “no genuine dispute as to any material
23    fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a);
24    Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). Material facts are those that may affect
25    the outcome of the case. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A
26    genuine dispute of material fact exists only if “the evidence is such that a reasonable jury
27    could return a verdict for the nonmoving party.” Id. When the Court considers the
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1     evidence presented by the parties, “[t]he evidence of the non-movant is to be believed, and
2     all justifiable inferences are to be drawn in his favor.” Id. at 255.
3           The initial burden of establishing the absence of a genuine issue of material fact falls
4     on the moving party. Celotex, 477 U.S. at 323. The moving party may meet this burden
5     by identifying the “portions of ‘the pleadings, depositions, answers to interrogatories, and
6     admissions on file, together with the affidavits, if any,’” that show an absence of dispute
7     regarding a material fact. Id. When a plaintiff seeks summary judgment as to an element
8     for which it bears the burden of proof, “it must come forward with evidence which would
9     entitle it to a directed verdict if the evidence went uncontroverted at trial.” C.A.R. Transp.
10    Brokerage Co. v. Darden Rests., Inc., 213 F.3d 474, 480 (9th Cir. 2000) (quoting Houghton
11    v. South, 965 F.2d 1532, 1536 (9th Cir. 1992)). “This is true, even when the party against
12    whom the motion for summary judgment is directed has not filed any opposition.”
13    Cristobal v. Siegel, 26 F.3d 1488, 1495 (9th Cir. 1994) (citing Sheet Metal Workers’ Int’l
14    Ass’n. v. Nat’l Labor Relations Bd., 716 F.2d 1249, 1254 (9th Cir. 1983). “[W]here no
15    evidence is presented in opposition to the motion, summary judgment should not be granted
16    if the evidence in support of the motion is insufficient.” Hoover v. Switlik Parachute Co.,
17    663 F.2d 964, 967 (9th Cir. 1981) (citations omitted).
18                                            ANALYSIS
19          Plaintiff incorporates by reference the evidence in support of its Motion for Default
20    Judgment and “seeks partial summary judgment against [D]efendant” as to the following
21    issues:
22          1.     “The product packaging in issue infringes plaintiff’s registered copyright”;
23          2.     “The owner’s manuals in issue infringe plaintiff’s registered copyright”;
24          3.     “The product packaging in issue infringes plaintiff’s trademark rights”;
25          4.     “The products in issue infringe plaintiff’s patent rights”;
26          5.     “The products in issue were sold on Amazon.com and eBay.com by the 41
27                 Defaulted Defendants”; and
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1            6.      “[Defendant] owns trademark registrations for the mark ‘FASIZ’ in many
2                    different countries (including the United States and Brazil).”
3     Mot. at 1; see also ECF No. 107-1 (“Mot. Mem.”) at 2. The Court will address the fifth
4     issue in ruling on the separately briefed and pending Motion for Default Judgment.
5     Moreover, the Court will leave the matter of whether Defendant was the manufacturer or
6     source of any of the infringing products sold on Amazon.com or eBay to be resolved at
7     trial, as Plaintiff has not come forward with evidence on this issue. 1
8            The Court will now address each remaining issue in turn.
9     I.     Copyright Infringement
10           “In order to establish copyright infringement, a plaintiff must show: (1) ownership
11    of a valid copyright; and (2) that the defendant violated the copyright owner’s exclusive
12    rights under the Copyright Act.” Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146,
13    1159 (9th Cir. 2007).
14           A copyright registration is “prima facie evidence of the validity of the copyright and
15    the facts stated in the certificate.” 17 U.S.C. § 410(c); see also S.O.S., Inc. v. Payday, Inc.,
16    886 F.2d 1081, 1085 (9th Cir. 1989). To establish copying, the plaintiff must show either:
17    “(1) the two works in question are substantially similar and the defendant had access to the
18    subject work; or (2) that the works are strikingly similar.” Malibu Textiles, Inc. v. Label
19    Lane Int’l, Inc., 922 F.3d 946, 952 (9th Cir. 2019) (citations omitted). “In assessing
20    whether particular works are substantially similar, or strikingly similar, this Circuit applies
21    a two-part analysis: the extrinsic test and the intrinsic test.” Unicolors, Inc. v. Urban
22    Outfitters, Inc., 853 F.3d 980, 985 (9th Cir. 2017). “The extrinsic test requires plaintiffs to
23    show overlap of concrete elements based on objective criteria, while the intrinsic test is
24    subjective and asks whether the ordinary, reasonable person would find the total concept
25    and feel of the works to be substantially similar.” Id. (internal quotation marks and
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       Indeed, in its Motion, Plaintiff notes that, if partial summary judgment is granted, the trial on each of its
28    claims “will focus on whether [D]efendant . . . was the manufacturer or source of the infringing
      [products].” Mot. Mem. at 3, 5–6, 9.

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1     citations omitted). On a motion for summary judgment, both parts are satisfied, and
2     summary judgment in favor of the plaintiff is proper, where the “works are so
3     overwhelmingly identical that the possibility of independent creation is precluded.”
4     Twentieth Century Fox Film Corp. v. MCA, Inc., 715 F.2d 1327, 1330 (9th Cir. 1989).
5           A.     Packaging
6           Plaintiff seeks partial summary judgment that the product packaging at issue
7     infringes Plaintiff’s registered copyright for its packaging. See Mot. Mem. at 3–4. Plaintiff
8     owns a registered copyright for its packaging for the Split-Ender product, VA 2e-092-823,
9     registered on February 5, 2018. See Compl. Ex. 2 (ECF No. 1-4); Statement of Undisputed
10    Facts (“SOF,” ECF No. 107-14) at 1. In the absence of any opposition from any defendant,
11    Plaintiff’s evidence is sufficient to create a presumption of validity.
12          Because Plaintiff did not provide evidence of access, the Court solely will analyze
13    whether the works are strikingly similar as a matter of law. See generally Mot. Mem. Here,
14    the works are “so overwhelmingly identical that the possibility of independent creation is
15    precluded.” Twentieth Century Fox Film Corp., 715 F.2d at 1330. Plaintiff’s copyrighted
16    product packaging and the FASIZ, LESCOLTON, UMATE, and HAIR TRIMMER
17    marked packaging are virtually identical and word-for-word, aside from the omission of
18    Plaintiff’s patent and copyright notices on the latter. See Mot. for Default J. Exs. A & B
19    (ECF Nos. 111-4 & 111-5) (comparing Plaintiff’s product packaging with the FASIZ,
20    LESCOLTON, UMATE, and HAIR TRIMMER marked packaging); see also Mot. Mem.
21    at 3–4; SOF at 1–2. Therefore, the Court finds that Plaintiff has satisfied its burden in
22    proving that the packaging at issue infringes Plaintiff’s copyright as a matter of law.
23          B.     Manuals
24          Plaintiff also seeks partial summary judgment that the user manuals at issue infringe
25    Plaintiff’s registered copyright for its manual. See Mot. Mem. at 4–6. Plaintiff owns a
26    registered copyright for its manual for the Split-Ender product, VA 2-093-290, registered
27    on February 5, 2018. See Compl. Ex. 3 (ECF No. 1-5). Again, in the absence of any
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1     opposition from any defendant, Plaintiff’s evidence is sufficient to create a presumption of
2     validity.
3           Similar to the infringing product packaging, the text in Plaintiff’s copyrighted
4     manual is nearly identical to that found in the FASIZ, LESCOLTON, UMATE, and HAIR
5     TRIMMER marked manuals, aside from the omission of Plaintiff’s trademark, copyright,
6     and patent notices in the latter. Compare Compl. Ex. 3 (ECF No. 1-5) with Compl. Exs.
7     10–13 (ECF Nos. 1-12–15); see also Mot. Mem. at 4–5; SOF at 2–4. Because Plaintiff’s
8     manual and the FASIZ, LESCOLTON, UMATE, and HAIR TRIMMER marked manuals
9     are so “overwhelmingly identical,” the Court finds that the manuals at issue infringe
10    Plaintiff’s registered copyright as a matter of law.
11          Accordingly, the Court GRANTS partial summary judgment in favor of Plaintiff on
12    Plaintiff’s first cause of action for copyright infringement. There is no genuine issue of
13    material fact that the product packaging and owner manuals at issue infringe Plaintiff’s
14    registered copyrights.
15    II.   Trade Dress Infringement
16          “[T]he Lanham Act, in § 43(a), gives a producer a cause of action for the use by any
17    person of ‘any word, term, name, symbol, or device, or any combination thereof . . . which
18    . . . is likely to cause confusion . . . as to the origin, sponsorship, or approval of his or her
19    goods . . . .’” Wal–Mart Stores, Inc. v. Samara Bros., 529 U.S. 205, 209 (2000) (citing 15
20    U.S.C. §1125(a)). Trade dress is “the ‘total image of a product,’ including features such
21    as size, shape, color, texture, and graphics.” Millennium Labs., Inc. v. Ameritox, Ltd., 817
22    F.3d 1123, 1126 (9th Cir. 2016) (quoting Disc Golf Ass’n v. Champion Discs, Inc., 158
23    F.3d 1002, 1005 n.3 (9th Cir. 1998)). For a trade dress infringement claim, the plaintiff
24    must prove that: “(1) the trade dress is inherently distinctive or has acquired distinctiveness
25    through secondary meaning; (2) there is a likelihood that the public will be confused by
26    the infringing use; and (3) the trade dress is nonfunctional.” Stephen W. Boney, Inc. v.
27    Boney Servs., Inc., 127 F.3d 821, 828 (9th Cir. 1997) (citation omitted).
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1            Plaintiff seeks partial summary judgment that the product packaging at issue
2     infringes Plaintiff’s trade dress in violation of 15 U.S.C. §1125(a). See Mot. Mem. at 6–9.
3     Plaintiff owns the stylized incontestable trademark, Trademark Reg. No. 2,645923, for
4     SPLIT-ENDER for “[e]lectric and battery-operated hair trimmers for the removal of split
5     and damaged hair ends; scissors, razors and electric shavers” in International Class 008.
6     See Compl. ¶ 56(a); see also id. Ex. 4 (ECF No. 1-6). Plaintiff also owns the word mark
7     SPLIT-ENDER, Registration No. 5535584, for “[e]lectric and battery-powered hair
8     trimmers” in International Class 008. Id. ¶ 56(b). 2 The Court is unaware of any trademark
9     registration for Plaintiff’s product packaging with the USPTO. See generally Compl.; Mot.
10    Mem.
11           A.      Inherent Distinctiveness
12           “For trade dress to be protected it must serve to identify the source of a product either
13    through the inherently distinct nature of the trade dress, or because the trade dress has
14    secondary meaning.” KRBL Ltd. v. Overseas Food Distribution, LLC, No. CV 16-2431
15    PA (GJSX), 2016 WL 3748660, at *4 (C.D. Cal. May 26, 2016) (citing Clicks Billiards,
16    Inc. v. Sixshooters, Inc., 251 F.3d 1252, 1259 (9th Cir. 2001)). “[A] mark is inherently
17    distinctive if ‘[its] intrinsic nature serves to identify a particular source.’” Wal-mart Stores,
18    529 U.S. at 210 (citing Two Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763, 768 (1992)).
19    To determine whether trade dress for product packaging is inherently distinctive, the Ninth
20    Circuit applies the “Seabrook test,” which asks whether: “(1) the design or shape is a
21    common, basic shape or design; (2) it was unique or unusual in a particular field; and (3)
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24      At the time of the filing of the Complaint, Plaintiff owned Trademark Application Ser. No. 87746962,
      but the Court takes judicial notice of the fact that the mark has since issued.                        See
25    https://tsdr.uspto.gov/#caseNumber=87746962&caseSearchType=US_APPLICATION&caseType=DEF
      AULT&searchType=statusSearch; see also In re Ex Parte Application of Jommi, No. C 13-80212 CRB
26    (EDL), 2013 WL 6058201, at *2 (N.D. Cal. Nov. 15, 2013) (“A court may take judicial notice of public
      records of governmental entities and authoritative sources of foreign law, including information posted on
27    government websites . . . .”) (citing Stevens v. Nkwo–Okere, Case No. 13–1974 HRL, 2013 U.S. Dist.
28    LEXIS 122172, at *5 n.3 (Aug. 27, 2013); Sears v. Cnty. of Monterey, Case No. 11–1876 LHK, 2013 U.S.
      Dist. LEXIS 120401, at *12 (N.D. Cal. Aug. 22, 2013)).

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1     it was a mere refinement of a commonly-adopted and well-known form of ornamentation
2     for a particular class of goods which consumers view as mere ornamentation.” Mattel, Inc.
3     v. MGA Entm’t, Inc., 782 F. Supp. 2d 911, 1004 (C.D. Cal. 2011) (quoting 1 McCarthy on
4     Trademarks and Unfair Competition § 8:13 (4th ed. 2010)). The Ninth Circuit emphasizes
5     that courts should “focus not on the individual elements, but rather on the overall visual
6     impression that the combination and arrangement of those elements create when assessing
7     trade dress.” Clicks Billiards, 251 F.3d at 1259.
8           Plaintiff bears the burden of proving distinctiveness as an element of its trade dress
9     claim. See Seirus Innovative Accessories, Inc. v. Gordini U.S.A. Inc., 849 F. Supp. 2d 963,
10    986 (S.D. Cal. 2012). Plaintiff contends that its product packaging is inherently distinctive
11    trade dress but fails to acknowledge, much less apply, the “Seabrook test.” See Mot. Mem.
12    at 6–7. Plaintiff asserts, without elaboration, that the “combination of text, images, color
13    and source identifying phrases” is inherently distinctive. See Mot. Mem. at 7; see also SOF
14    at 4. Plaintiff also provides a declaration of Victor Talavera, its president, stating that
15    “Plaintiff’s trade dress packaging is an inherently distinctive combination of text, images,
16    color and source identifying phrases” and that “Plaintiff’s copyrights in its packaging and
17    patents on its product help assure the distinctiveness and strength of its trade dress
18    packaging.” See Declaration of Victor Talavera (“Talavera Decl.,” ECF No. 111-3) ¶ 7.
19          Plaintiff’s product packaging consists of the following: a black, tan, and white color
20    scheme; the stylized word mark SPLIT-ENDER PRO in a tan color; the short phrase
21    “SNIPS THE ENDS, NOT THE LENGTH” in a lighter tan color; a large photo of the Split-
22    Ender Pro product; “TALAVERA” in gold with a circle around it; and a photograph of a
23    woman with long hair. See Mot. for Default J. Exs. A & B (ECF Nos. 111-4 & 111-5).
24    The packaging and arrangement of the elements as a whole seem to merely describe the
25    product, a hair tool, rather than the source, Talavera Hair Products, Inc. In addition,
26    Plaintiff fails to provide evidence that such packaging is at all unique in the hair tools
27    industry. See Solofill, LLC v. Rivera, No. CV1702956SJOAJWX, 2018 WL 6038287, at
28    *3 (C.D. Cal. Aug. 3, 2018) (“Plaintiff provides a laundry list of elements which it claims

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1     compose its trade dress, yet these elements are, for the most part, entirely functional or
2     generic and, even in combination, are not ‘so unique, unusual or unexpected’ as to create
3     a clear presumption of origin.”).
4           Taking into account the various product packaging features such as the product
5     description, product name, slogan, and photographs as a whole, Plaintiff is still left with “a
6     fairly routine color scheme, graphic layout, and choice of font.” Spark Indus., LLC v.
7     Kretek Int’l, Inc., No. CV 14-5726-GW ASX, 2014 WL 4365736, at *8 (C.D. Cal. Aug.
8     28, 2014) (“[E]ven including features that ‘assist in describing the product [and] its
9     effective packaging’–like product shape, cartomizer display, and product descriptions–
10    [plaintiff] is left with a fairly routine color scheme, graphic layout, and choice of font.”).
11    Further, “the mere presence of a registered trademark as a component of the trade dress
12    [does not] render the broader trade dress inherently distinctive.” Solofill, 2018 WL
13    6038287, at *3. Here, based on the evidence presented by Plaintiff, Plaintiff’s product
14    packaging is “not the sort of arbitrary or uncommon trade dress that would qualify as
15    inherently distinctive.” Lanard Toys Ltd. v. Novelty, Inc., No. CV 05-8406CAS(JJX), 2007
16    WL 2439505, at *11 (C.D. Cal. Mar. 17, 2006) (holding that the product packaging for
17    toys, “including the [plaintiff’s] choice of colors, the placement of illustrations, product
18    name, and text on the packaging, the illustrations themselves, and the use of instructions
19    balloons[,]” was not inherently distinctive.).
20          Therefore, the Court finds that Plaintiff has failed to meet its burden in proving that
21    its trade dress is inherently distinctive as a matter of law.
22          B.     Acquired Distinctiveness
23          “[A] mark has acquired distinctiveness, even if it is not inherently distinctive, if it
24    has developed secondary meaning.’” Clicks Billiards, 251 F.3d at 1262. “The trade dress
25    of a product or service attains secondary meaning when the purchasing public associates
26    the dress with a particular source.” Fuddruckers, Inc. v. Doc’s B.R. Others, Inc., 826 F.2d
27    837, 843 (9th Cir. 1987) (citing First Brands Corp. v. Fred Meyer, Inc., 809 F.2d 1378,
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1     1383 (9th Cir. 1987)). “Whether a particular trade dress has acquired secondary meaning
2     is a question of fact.” First Brands, 908 F.2d at 1383.
3           A plaintiff can prove its trade dress has acquired distinctiveness through direct
4     evidence such as consumer surveys, or circumstantially through “exclusivity, manner, and
5     length of use of a mark; amount and manner of advertising, amount of sales and number of
6     customers, established place in the market, and proof of intentional copying by the
7     defendant.” Filipino Yellow Pages, Inc. v. Asian Journal Publ’n, Inc., 198 F.3d 1143, 1151
8     (9th Cir. 1999). In the Ninth Circuit, “deliberate copying may suffice to support an
9     inference of secondary meaning,” in certain circumstances. Fuddruckers, 826 F.2d at 844.
10    “The rule derives from the assumption that a defendant would not copy a mark or design
11    unless it (1) believed the mark or design had attained secondary meaning in the minds of
12    consumers, and (2) intended to exploit this secondary meaning to deceive consumers.”
13    Cont’l Lab. Prod., Inc. v. Medax Int’l, Inc., 114 F. Supp. 2d 992, 1008 (S.D. Cal. 2000)
14    (citations omitted).
15          Here, Plaintiff fails to provide any direct evidence of acquired distinctiveness or any
16    circumstantial evidence pertaining to the exclusivity, manner, and length of use of its trade
17    dress in its Motion or supporting evidence. See generally Mot. Mem.; Mot. for Default J.;
18    Compl. Regarding advertising, Plaintiff provides the following facts in its Complaint,
19    although Plaintiff makes no arguments in its Motion premised on these facts: Plaintiff
20    expends significant monetary resources on Internet marketing and consumer education,
21    including search engine optimization strategies; since at least 2003, Plaintiff’s Split-Ender
22    product was advertised on television in the United States and many countries throughout
23    the world through distributors; Plaintiff’s and third parties’ numerous videos regarding
24    Plaintiff’s Split-Ender product posted on the Internet, including Facebook and YouTube,
25    have 40 million views; and Plaintiff spends thousands or tens of thousands of dollars a
26    month on trade shows around the world. Compl. ¶¶ 60–61. However, evidence of
27    advertisements and promotional activities pertaining generally to a product does not
28    demonstrate that its packaging has acquired distinctiveness. See Walker & Zanger, Inc. v.

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1     Paragon Indus., Inc., 549 F. Supp. 2d 1168, 1180 (N.D. Cal. 2007) (“[A]dvertising must
2     direct the consumer to those features claimed as trade dress; merely ‘featuring’ the relevant
3     aspect of the product does not suffice.”); First Brands, 809 F.2d at 1383 (“[P]romotional
4     activities must involve ‘image advertising,’ that is, the ads must feature in some way the
5     trade dress itself. Otherwise, even evidence of extensive advertising or other promotional
6     efforts would not necessarily indicate that prospective buyers would associate the trade
7     dress with a particular source.”) (citations omitted); see also Carter-Wallace, Inc. v.
8     Procter & Gamble Co., 434 F.2d 794, 800 (9th Cir. 1970) (upholding the district court’s
9     finding that the plaintiff’s “advertising campaign ha[d] not stressed the color and shape of
10    [plaintiff’s] antifreeze jug so as to support an inference of secondary meaning”). Finally,
11    regarding sales, although Plaintiff states it has sold goods all over the United States and
12    many countries since at least 2003, see, e.g., Compl. ¶¶ 15, 61(c), and provides the price at
13    which its product was previously and is currently sold, see Talavara Decl. ¶¶ 18–19,
14    Plaintiff has failed to provide evidence of actual sales numbers or use of its alleged trade
15    dress associated with any of these sales. See generally Mot. Mem.; Mot. for Default J.;
16    Compl.
17          Rather, Plaintiff contends that Defendant’s allegedly intentional copying proves that
18    Plaintiff’s trade dress has acquired distinctiveness. See Mot. Mem. at 8–9; Compl. ¶ 65(g).
19    However, because the allegedly infringing packaging prominently displays the marks
20    FASIZ, UMATE, LESCOLOTON, and HAIR TRIMMER, any inference of acquired
21    distinctiveness by Defendant’s copying is diminished.          See Spark Indus., 2014 WL
22    4365736, at *11 (“[C]ourts have held that prominent display of defendant’s mark refutes
23    an inference that the defendant copied the plaintiff’s trade dress in order to capitalize on its
24    secondary meaning.”). In addition, rather than providing direct evidence of intentional
25    copying, Plaintiff contends that the near word-for-word copying on the package, as well as
26    the placement of text, images, and identical slogans as a whole, provides circumstantial
27    evidence of intentional copying. See Talavera Decl. ¶¶ 9–11. Plaintiff also relies on
28    Uniden Corp. of Am. v. Unipacific Corp., No. 83-2792, 1983 WL 44363 (C.D. Cal. Aug.

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1     2, 1983), where the court found that the plaintiff’s trade dress had acquired distinctiveness
2     through evidence of deliberate and close copying, plaintiff’s extensive advertising
3     featuring the trade dress, and plaintiff’s “tremendous sales.” Mot. Mem. at 8 (citing Uniden
4     Corp. of Am., 1983 WL 44363, at *7). Unlike Uniden, however, Plaintiff fails to provide
5     evidence of any advertising featuring its packaging or concrete evidence of sales and
6     instead solely relies on circumstantial evidence of intentional copying. Therefore, the
7     Court finds, on the evidence presently before it, that Plaintiff has not met its burden in
8     establishing that its trade dress has acquired distinctiveness.
9            Because Plaintiff has not proven as a matter of law that the product packaging is
10    protectable trade dress, the Court will not proceed to analyze whether the packaging is non-
11    functional or whether there is a likelihood of confusion with the allegedly infringing trade
12    dress. Rather, the Court DENIES Plaintiff’s request for partial summary judgment as to
13    trade dress infringement.
14    III.   Patent Infringement
15           Regarding direct infringement, the Patent Act provides: “whoever without authority
16    makes, uses, offers to sell, or sells any patented invention, within the United States or
17    imports into the United States any patented invention during the term of the patent therefor,
18    infringes the patent.” 35 U.S.C. § 271(a). An “issued patent carries with it a presumption
19    of validity under 35 U.S.C. § 282.” Tinnus Enters. LLC. v. Telebrands Corp., 846 F.3d
20    1190, 1205 (Fed. Cir. 2017).
21           A.    Validity of the Patents
22           Plaintiff owns the following patents for its Split-Ender® product: U.S. Patent No.
23    6,588,108, issued July 8, 2003, titled “HAIR TRIMMING DEVICE WITH
24    REMOVABLY MOUNTABLE COMPONENTS FOR REMOVAL OF SPLIT ENDS
25    AND STYLING OF HAIR” (the “’108 Patent”); U.S. Patent No. 7,040,021, issued May 9,
26    2006, titled “HAIR TRIMMING DEVICE WITH REMOVABLY MOUNTABLE
27    COMPONENTS FOR REMOVAL OF SPLIT ENDS AND STYLING OF HAIR” (the
28    “’021 Patent”); and U.S. Patent No. 9,587,811, issued May 9, 2006, titled “HAIR

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1     TRIMMING DEVICE” (the “’811 Patent”). See Compl. Ex. 5 (ECF No. 1-7); see also
2     SOF at 5. Here, no defendant has raised a challenge to the validity of the patent, and
3     consequently, the Court concludes as a matter of law that Plaintiff’s unexpired ’108, ’021,
4     and ’811 Patents are valid and enforceable.
5           B.     Infringement
6           “Determining patent infringement requires that the court determine whether
7     someone (1) without authority (2) makes, uses, offers to sell, sells, or imports (3) the
8     patented invention (4) within the United States, its territories, or its possessions (5) during
9     the term of the patent.” Van Well Nursery, Inc. v. Mony Life Ins. Co., 421 F. Supp. 2d
10    1321, 1334 (E.D. Wash. 2006) (citing 35 U.S.C. § 271(a); Cyrix Corp. v. Intel Corp., 77
11    F.3d 1381 (Fed. Cir. 1996)).
12          Plaintiff alleges that the “FASIZ, LESCOLTON, UMATE and HAIR TRIMMER
13    marked electric hair trimmers are the same in all material respects,” and “only the product
14    name, color and/or design on handle grip (lines or dots) differ between the infringing
15    devices.” Compl. ¶ 81. Plaintiff provides the Declaration of Patent Expert Ben Esplin
16    (“Esplin Decl.,” ECF No. 111-12), supported by separate detailed infringement charts for
17    Plaintiff’s ’108, ’021, and ’811 Patents that set forth the text of the patent claim compared
18    with annotated images of the allegedly infringing products, see id. Exs. 2–13.
19          After thorough review of the evidence provided, the Court concludes that Plaintiff
20    has sustained its burden in proving that the FASIZ, LESCOLTON, UMATE and HAIR
21    TRIMMER marked products each infringe Plaintiff’s ’021, ’108, and ’811 Patents.
22    Accordingly, the Court GRANTS partial summary judgment in favor of Plaintiff on
23    Plaintiff’s fourth cause of action for patent infringement. There is no genuine issue of
24    material fact that the FASIZ, LESCOLTON, UMATE and HAIR TRIMMER marked
25    products infringe Plaintiff’s patents.
26    IV.   Defendant’s Trademark Registration “FASIZ”
27          Finally, Defendant asks the Court to grant partial summary judgment that Defendant
28    owns trademark registrations for the mark “FASIZ.” Mot. Mem. at 11. It is undisputed

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1     that Plaintiff owns registered trademarks in the mark “FASIZ.” See Mot. Mem. Exs. 6–10
2     (ECF Nos. 107-6–10) (showing that Defendant has protection for the mark “FASIZ” in,
3     inter alia, Australia, Belarus, Brazil, China, Colombia, the European Union, Japan, Korea,
4     New Zealand, Russia, Singapore, Ukraine, the United Kingdom, and the United States). 3
5     Therefore, the Court GRANTS partial summary judgment that Defendant owns trademark
6     registrations for the mark “FASIZ” in, inter alia, the United States and Brazil.
7                                               CONCLUSION
8            For the foregoing reasons, the Court GRANTS Plaintiff’s Motion for Partial
9     Summary Judgment (ECF No. 107) as to copyright infringement and patent infringement.
10    The Court DENIES Plaintiff’s Motion as to trade dress infringement. Finally, the Court
11    GRANTS Plaintiff’s Motion as to Defendant’s ownership of trademark registrations for
12    the mark “FASIZ.”
13           IT IS SO ORDERED.
14    Dated: March 4, 2021
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        Again, “[a] court may take judicial notice of public records of governmental entities and authoritative
      sources of foreign law, including information posted on government websites, and may also take notice
27    of undisputed information on a private entity’s website.” In re Ex Parte Application of Jommi, 2013 WL
28    6058201, at *2. Accordingly, in the absence of any objection from Defendant as to the authenticity of
      these trademark registrations, the Court takes judicial notice of these records.

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